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EXH|B|T "2" TO DECLARAT|ON OF CARL M. VARADY

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IN THE UNITED STATES DISTRICT COURT

FOR THE DISTRICT OF HAWAII

ANN KIMBALL WILES and STANLEY
BOND, individually, and as next
friend of their Son, BRYAN
WILES-BOND, a minor,

Plaintiffs,
vS. Civil NO. CV-05-00247 HG/BMK
No. Cv-04-00442 HG/BMK
DEPARTMENT OF EDUCATION CONSOLIDATED
State cf Hawai'i, and ALVIN (Other Civil Action)

RHO, in his efficial capacity
as West Hawai'i District
Superihtehdent,
Defendants.
_______________________________ /
VOLUME II

(PageS 285 through 437)

DEPOSITION OF

 

STANLEY BOND
WALNUT CREEK, CALIFORNIA

SATURDAY, JUNE 30, 2007

ATKINSON-BAKER, INC.
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FILE NO.: A104DO3

 

 

 

 

 

 

 

 

 

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1 reason he should be out. 1 advocated on the basis of what was in his IEP. And,
2 Q. No, l did not mean that. l think the refusal 2 ultimately, we advocated on the basis of what was signed
3 to participate in a program -- 3 in agreements by all the parties And we advocated on
4 A. No, we would never have refused to have Bryan 4 the basis of hearing officers' orders for Bryan, And we
5 participate in a community program. That would have 5 felt like a lot of what happened was in retaliation of
6 benefitted his education. 6 our attempt to advocate for his needs for services
7 Q. Now, going to page 29 of Exhibit l -- 7 And Bryan was damaged in an attempt to damage us and
8 A. Is this Exhibit l? 8 to, ultimately, drive us from the State of Hawaii. And
9 Q. Yes. 9 they did succeed in forcing us to leave the State of
1 0 A. Sorry. Okay. 10 Hawaii to find a program for Bryan -- for the services he
1 1 Q. Okay, #16 asks you to fully describe each fact, 11 would require_
12 condition, act, or omission, and the legal basis upon 12 MR. USHIRODA; Off the record t
1 3 which you base your allegations that the defendants were 13 (Discussion off the record) '
1 4 deliberately indifferent and should be held liable for 1 4 MR. USHIRODA: Back on. §
1 5 damages 1 5 Q. Well, thank you, Stan, for that answer I
1 6 Do you see that? 1 6 appreciate your candor. I think -- I don't think I need
1 7 A. Yes, I do. 17 to go back over that because l think we covered that at
1 8 Q. And l know, at the last session, we spoke at 1 8 length in your prior session.
1 9 length, you know, about your -- What you felt were 1 9 A. Yes.
2 0 specific examples of the state being deliberately 2 0 Q_ Now -- but, I did want to kind of cover this
2 1 indifferent towards Brya -- 2 1 interrogatory response because what it asks for was, you
2 2 A. Yes. 22 know, basically, the factual bases for your allegations
2 3 Q. -- for this case -- 2 3 that the defendants the DOE and the State of Hawaii,
2 4 A. Yes. 2 4 were deliberately indifferent towards Bryan --
2 5 Q -- and, since then, have you -- are there 2 5 l A. Yes.
Page 410 Page 412
1 anymore instances? 1 Q. -- and what l don't get is a statement of
2 MR. VARADY: I'm just going to renew my objection on 2 facts, but a list of documents
3 the basis that this would call for a legal conclusion or 3 And the first one is a May 21, 200l Stipulated
4 opinion that's beyond expertise 4 Decision signed by Richard Chun.
5 MR. USHIRODA: So noted, counsel. 5 Do you see that?
6 THE WITNESS: l think the main thing that I have to 6 A. Yes, l do.
7 add is that, you know, in relooking at papers and things 7 Q. What does that have to do with your
8 that we have, that I go back to the fact that, to me, it 8 deliberative indifference?
9 was beyond indifference, but -- it was intent. Bryan was 9 A. Well, l think you can see the requirements of
10 hanned in many ways in an attempt to harm us 10 Bryan's program were made well aware to the DOE as early
1 1 We felt that much of what was done was retaliatory 1 1 as 2001 and, here we are in 2004, still trying to have it
1 2 aher -- you know, once we filed in Federal Court, that 1 2 implemented
1 3 the denial of his program was retaliatory; that there 1 3 (Defendants’ Exhibit No. 14
1 4 were many instances -- we've talked about some ~- there 14 marked for identification)
1 5 may be others that I'd have to go back and look at -- 15 MR. USHlRODA: Okay, Stan, I've handed you what I've
1 6 where they, intentionally, denied a program, or refused 1 6 marked as Exhibit 14 to your deposition lt is a
17 to go beyond -- go beyond, you know, the basics of what 17 Decision and Order Rendered in the matter of the
1 8 they do in terms of working with the agencies of, you 1 8 Arbitration between Student and State of Hawaii
1 9 know, advertising -- even though we brought to the table 19 Department of Education and it is signed by Richard C.F.
2 0 a number of options where Bryan's program may have 2 0 Chun as Hearings Officer on May Zl, 2001,
2 1 been -- we may have been able to develop a good program 2 1 Q. My first question is, have you seen this
22 for Bryan, and those were just dismissed out of hand by 2 2 document?
2 3 the Department of Education. 23 A. l believe I have seen this document
2 4 And, you know, we purely advocated for our son -- 2 4 Q. And is this the document that's referenced
2 5 what we believed was the best thing for our son -- and we 25 in -- is that the first document that is referenced in

 

 

 

32 (Pages 409 to 412)

 

 

 

 

 

 

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1 A. To be honest, no. l don't see that they really 1 A. The only other effort that occurred was ordered
2 made any true effort to comply with this 2 by Judge Gilmore, and that was to bring in Pacific Farnily
3 Q. Okay, so, it's your testimony, today, that the 3 and Child to, potentially, put together a program for
4 DOE did absolutely nothing to comply with this order? 4 him; but, that was so far into the process by then, it
5 A. Well, absolute is a big word. 5 was, you know -- it was only done because it was ordered
6 Q. Well, you're saying nothing, so, that's why l 6 by the court. :
7 ask. 7 Q. ls there a written order stating that the DOE
8 A. Well, I think what l'm saying is that the DOE 8 had to bring in Pacific Child and Family Associates?
9 didn't make what I would think of as a reasonable attempt 9 A. l would have to look at the minutes of that
1 0 to comply with this order -- 1 0 hearing But, l believe that the Judge did directly tell
1 1 Q. Okay. 11 them to bring that company in to perform a proposal. i
12 A. -- and, in so far in the fact that we gave the 12 Q. Okay, any other efforts that you can think of?
1 3 DOE information that would allow them to make a 13 A. Well, of course, they're going to also say :
1 4 reasonable attempt to comply with this order, which they 1 4 tha --
1 5 refused to acknowledge or act upon. 1 5 Q. Not what they're going to say. l want to know i
1 6 Q. Basically, no attempt -- no attempt -- was made 1 6 what you saw. 1
17 in light of the information? 1 7 A. No, l can't think of any efforts that directly
1 8 A. l think, in light of Bryan's needs and the 18 related to Bryan's program.
1 9 information that we provided, l think that no reasonable 1 9 Q. Okay, I'm not interested in what you think the
2 0 attempt was made to provide these types of services for 2 0 state is saying --
2 1 Bryan. 2 1 A. Okay.
2 2 Q. Reasonable or not, was any attempt made by the 22 Q. -- but what you observed. Okay?
2 3 state, to your knowledge -- any effort,made by the state? 2 3 All right, okay, you also reference Second
2 4 A. I'm sure that they did things that could be 2 4 Enforcement Complaint and that's -- l assume you have it l
2 5 construed as an effort. But, the types of efforts that 2 5 listed there because it was filed to compel compliance
Page 426 Page 428
1 they put out were not going to go forward in terms of 1 with the May ll, 2004 hearing order; correct?
2 being able to comply with this -- with these needs -- 2 A. And --
3 even though they may want to claim that those efforts 3 Q. The settlement?
4 would, I don't think the types of efforts that they put 4 A. -- July settlement agreement, and his IEP, and
5 out were going to be able to comply with this hearing 5 all of those other legal documents too, that required he
6 order. And I don't think they truly thought that what 6 have a qualified teacher and skills trainer and summer
7 they did -- that they were going to find the people 7 school.
8 necessary. 8 Q. ln your words I don't want to put words in
9 Q. Okay, can you think of any effort made by the 9 your mouth.
1 0 DOE that went towards compliance with the hearing order 1 0 Why is the July 21, 2004 second enforcement
1 1 which is Exhibit 7? 1 1 complaint listed here?
12 A. Well, l mean, you have, obviously, showed, and 12 A. Well, because the DOE did not have a qualified
1 3 we've discussed, that they advertised in the Honolulu 1 3 teacher in place for the ESY -- for the extended school
1 4 newspaper; but, to my knowledge, they never followed up 1 4 year program.
15 with any of the resumes And so, to me, putting an 1 5 The individual that he put in did not even have a
1 6 advertisement in a newspaper, without actually -- with no 1 6 teaching certificate much less, you know, training in
1 7 follow-up -- is not really an effort. 1 7 special education.
1 8 They continued to attempt to utilize the agencies on 1 8 Q. That individual is who?
1 9 the big island, on the island of Hawaii, that had been a 1 9 A. Bill Brown ~- l believe -- yes
2 0 failed course of action for over three years So, I 2 0 Q. Okay.
2 1 don't see that as really a legitimate attempt at trying 2 1 A. And, once we realized that-- what Was
22 to provide, or a legitimate effort as trying to provide, 22 happening -- then we tried to, you know, get in as
23 Bryan services 23 quickly as we could. But, of course, by the time this
2 4 Q. Okay, any other efforts that you could see as 2 4 happened it was well past the date. But, you know, they ~
2 5

going towards compliance with the decision rendered?

 

   

 

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were certainly well aware that they should have had a

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1 qualified teacher in place for Bryan's program. 1 A. You know, those are all things that our lawyers
2 You know, I'll have to say that l would -- you know, 2 have done for us, and I really don't know what that was
3 I'm not really sure, actually, what this July 21 is, 3 about except -- about -- so, it was a legal issue, 1'm
4 because this July 23 is the one that actually deals with 4 sure.
5 the summer school issue. 5 Q. And then, can you go to page 30, talk about
6 MR. USHlRODA: Okay. 6 important facts ignored by the defendants
7 Q. So, you're not sure why the July 1, 2004 -- 7 What is this about?
8 A. Except l think, you know, here it was May, 8 A. I think it lists out that the defendants never
9 June, July, you know, basically, three months out, and 9 made those agencies aware of what the requirements were
1 0 they still are not complying with the hearing order. And 1 0 for skills trainers, or other needs of Bryan, you know;
1 1 l think that’s why we went forward with that one is we're 1 1 and so they eouldn't really recruit for people without
12 still trying to get compliance with the hearing order. 12 knowing what they were recruiting for.
1 3 Q. And that, again, is an example of deliberative 1 3 Q. So, these are like the settlement agreement
1 4 indifference, according to you? 1 4 the various hearing decisions?
15 A. l think three months into -- well, now, we're 15 A. Yes.
1 6 like three years into the issue; but, certainly, l would 1 6 Q. Those were not passed on to the agencies?
17 think that, in three months’ time, they should have been 17 A. Yes.
1 8 able to bring together a program that would have been 1 8 Q. Okay, and I believe there are some citations
1 9 appropriate for Bryan. 1 9 here to support that; correct?
2 0 Q. And, again, my question was, you have July 21, 20 A. Yes.
2 1 2004 second enforcement complaint listed here because 2 1 Q. ls that another example of deliberate
2 2 it's a further instance -- it was filed because -- 22 indifference on the part of the DOE?
2 3 A. Because the DOE refused to or was not putting 2 3 A. l believe it very much is You know, how could
2 4 a -- 2 4 you expect your agents to recruit the right people if
2 5 Q. And you're saying that that’s a further example 2 5 they don't know what the qualifications are that they're
Page 430 Page 432 v
1 of deliberative indifference on the part of the state? 1 recruiting for? So --
2 A. Yes. 2 Q. Okay, do you know why, if at all, these
3 Q. Okay- 3 decisions and orders were not passed on to the agencies‘?
4 A. Yes. 4 A. No, l really don't know why the DOE wouldn't
5 (Defendants' Exhibit No_ 16 5 have done that.
6 marked for identification) 6 Q. Okay, is there anything else you need to add in
7 MR. USHlRODA: Q. And then what I've handed you has 7 your response to Interrogatory 16?
8 been marked as Exhibit 16 to your deposition lt's a 8 A. No, l don't think so.
9 July 23, 2004 l-learing Off`icer Decision. 9 Q. That's pretty complete?
1 0 And this dealt with the summer school issue; 1 0 You've given me your complete answers?
1 1 correct? 1 1 A. 1 think 1 have -- well, to the best of my
12 A_ Yes, this dealt with the summer school issue. 12 memory l've given you a complete answer. But, these are
1 3 Q. And that’s listed here in your response to 13 all very legalistic documents, as well, and so l probably
1 4 Exhibit 16? 1 4 don't understand all of the legal components of them.
1 5 A. Yes. 15 Q. Okay, but, sitting here today, based on your
1 6 Q. l mean lnterrogatory 16? 1 6 best recollection, that you've given me all of the
1 7 A. Yes. 17 examples of deliberate indifference by the DOE‘?
1 8 Q. And we talked at length about the present 1 8 A. I probably have not given all of the examples
1 9 complaint which you have listed as April 14, 2005, that 1 9 but, l would have to really go back and go through my
2 0 was our last session. 2 0 records to give, you know, more specific answers But, I
2 1 Do you remember that? 2 1 would say there probably are some more answers that are
2 2 A. Yes, 1'm sure that -- 22 more specific about what happened, but --
2 3 Q. Now, you also have listed June 30, 2005 Motion 2 3 Q. Can you think of anymore‘?
2 4 to Consolidate and Stipulated Motion. 2 4 A. 1 can think of a few documents right now, but,
2 5

 

What was that about, Stan?

 

 

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l can't think exactly what they say.

 

 

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Page 433 Page 435 7
1 Q. What documents are there? 1 REPORTER'S CERTIFICATE
2 A. Well, there were some documents between us and 2
3 Barbara Coffman and JoAnn Hill about, basically, who was 3 L MARYANN P' COSTA RPR, RMR, C-S~R- NO-
4 in charge of the program 4 5820, Certified Shorthand Reporter, certify:
5 And they just basically stated, this is the way it 5 That the foregoing Prooeodings Were taken l
6 is and, you know, it doesn’t matter what the court order 6 before me at the time and P]a°e therein Set forth’ at
7 says This is who you're going to get for your summer 7 Which time the Wimess Was put under °ath by me;
8 school teacher and this is who you're going to get for 8 That the testimony Ofthe Wimess’ the
9 your aides. 9 questions propounded, and all objections and statements l
1 0 Q' And that,S it? 1 0 made at the time of the examination were recorded
l l A. And that,$ it_ You know, we don,t care What 1 1 stenographically by me and were thereafter transcribed;
1 2 they Say. 12 That the foregoing is a true and correct
. . 1 3 transcript of my shorthand notes so taken. '
1 3 Q. And that, to you, is an example of deliberate _
l 4 indifference? 1 4 l further certify that l am not a
_ 15 relative or employee of any attorney of the parties nor
15 A. Exactly. Well, it goes beyond that. It's an 1 6 financially interested in the action-
1 6 example of denial -- deliberate denial -- of his program. 1 7 l declare under penalty Of perjury under
l 7 Q' Okay' 18 the laws of Califomia that the foregoing is true and
1 8 A. You know, to me, it's beyond indifference 1 9 correct
1 9 lt's way beyond indifference lt's negligence. lt's 20 Dated this day Of 7 2007_
2 0 denial. lt's intent to harm him, intent to harm us, 2 1
2 1 retaliation against us. You know, l think it's all of 2 2
2 2 those things 2 3
23 Q~ W€ll, I'm not trying to harp On this issuej MARYANN P. CosTA RPR, Ri\/iR, C.s.R. No_ 5820
2 4 but, it's just important for me because I don't want to 2 4
2 5 have to re-depose you because l need to know everything 2 5
Page 434 Paqe 436
1 you have to Say. 1 REPORTER'S CERTIFICATION OF CERTIFIED COPY
2 A. l know, l’m trying to give you, let's say, the 2
3 majority the big, high points; but, there is just a lot 3 L MARYANN P- COSTA, RPR, RMR, CSR No-
4 of correspondence between us and DOE, and there were many 4 5820’ a Ce"ofled Shorthand Reporter in the State of
5 conversations, and itis hard __ you know, l Canit 5 Califomia, certify that the foregoing pages 285 through
6 remember each ene, but __ 6 434, constitute a true and correct copy of the original
7 Q_ To the best Of your knowledge, have you given 7 deposition, Volume Il, of STANLEY BOND, taken on
8 me everything 8 Saturday, June 30, 2007.
9 A. l've given you everything l can remember today. 9 l declare under penalty of perjury unde_r .
1 0 MR. USHlRODA: Okay, well, on that note, then, Stan, :(l) :::e]::lv; :::;:§tate ofcahfomla that the foregoing 15
1 1 thank you very much for your time. 12
12 (Deposition ends at 12:35 p.m.) 13 Dated this day Of y 2007. j
1 3 14
1 4 l 5 l
1 5 l 6
1 6 1 7
17 MARYANN Pi CosTA RPR, RMR, C.sR. No. 5820
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2 5 2 5

 

 

 

 

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